                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                                No. CR16-3050-MWB
 vs.                                            ORDER ACCEPTING MAGISTRATE
                                                    JUDGE’S REPORT AND
 ANGELA KAYE OLSON,                             RECOMMENDATION REGARDING
                Defendant.                        DEFENDANT’S GUILTY PLEA

                                   ____________________

                                   I.    BACKGROUND
        On November 16, 2016, an Indictment was returned against defendant Angela Kaye
Olson. On March 15, 2017, defendant appeared before United States Magistrate Judge
Kelly K.E. Mahoney and entered a plea of guilty to Count 1 of the Indictment. On March
15, 2017, Judge Mahoney filed a Report and Recommendation in which she recommended
that defendant’s guilty plea be accepted (docket no. 43). No objections to the Report and
Recommendation were filed.1 I, therefore, undertake the necessary review of Judge
Mahoney’s recommendation to accept defendant’s plea in this case.


                             II.   APPLICABLE STANDARDS
        A district judge must review a magistrate judge’s Report and Recommendation in a
criminal case under the following standards:
               Within fourteen days after being served with a copy, any party may
               serve and file written objections to such proposed findings and
               recommendations as provided by rules of court. A judge of the court
               shall make a de novo determination of those portions of the report or


        1
         The parties have waived the fourteen day period in which to file objections to Judge
Mahoney’s Report and Recommendation.



       Case 3:16-cr-03050-LTS-KEM       Document 45       Filed 03/16/17    Page 1 of 3
              specified proposed findings or recommendations to which objection
              is made. A judge of the court may accept, reject, or modify, in whole
              or in part, the findings or recommendations made by the magistrate
              judge. The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.

28 U.S.C. § 636(b)(1); see also FED. R. CRIM. P. 59(b). Thus, when a party objects to any
portion of a Report and Recommendation, the district judge must undertake a de novo
review of that portion.
       Any portion of a Report and Recommendation to which no objections have been
made must be reviewed under at least a “clearly erroneous” standard. See, e.g., Grinder v.
Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the
district court judge] would only have to review the findings of the magistrate judge for
clear error”). As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when
although there is evidence to support it, the reviewing court on the entire evidence is left
with the definite and firm conviction that a mistake has been committed.” Anderson v. City
of Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review a Report and
Recommendation under a more-exacting standard even if no objections are filed:
              Any party that desires plenary consideration by the Article III judge
              of any issue need only ask. Moreover, while the statute does not
              require the judge to review an issue de novo if no objections are filed,
              it does not preclude further review by the district judge, sua sponte or
              at the request of a party, under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                   III.    DISCUSSION
       Because neither party objects to the Report and Recommendation, I have reviewed
it for clear error. Based on that review, I am not “left with the definite and firm conviction
that a mistake has been committed.” Anderson, 470 U.S. at 573-74. As such, I hereby



                                              2


    Case 3:16-cr-03050-LTS-KEM            Document 45     Filed 03/16/17    Page 2 of 3
accept the Report and Recommendation without modification and accept defendant’s plea
of guilty in this case as to Count 1 of the Indictment.2
       IT IS SO ORDERED.
       DATED this 16th day of March, 2017.



                                           ______________________________________
                                           MARK W. BENNETT
                                           U.S. DISTRICT COURT JUDGE
                                           NORTHERN DISTRICT OF IOWA




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        United States v. Cortez-Hernandez, ---Fed. App’x ---, .2016 WL 7174114 (8th Cir.
Dec. 9, 2016) (per curiam), suggests that a defendant may have the right to de novo review
of a magistrate judge’s recommendation to accept a plea of guilty even if no objection is
filed. But see 28 U.S.C. § 636(b)(1); FED. R. CRIM. P. 59(b). I will undertake a de novo
review of the Report and Recommendation if a written request for such review is filed
within seven (7) days after this order is filed.
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    Case 3:16-cr-03050-LTS-KEM          Document 45        Filed 03/16/17   Page 3 of 3
